   AO 91 (Rev.11/11)Case
                     Criminal2:22-cr-00122-SAB
                              Complaint          ECF No. 1         filed 08/30/22   PageID.1 Page 1 of 1

                                    UNITED STATES DISTRICT COURT                                     FILED IN THE
                                                              for the                            U.S. DISTRICT COURT
                                                                                           EASTERN DISTRICT OF WASHINGTON
                                         Eastern District of Washington
                                                                                                 8/30/22
                                                          )
   UNITED STATES OF AMERICA                                                                     SEAN F. MCAVOY, CLERK
                                                          )
                                                          )
                 v.
                                                          )       Case No. 2:22-MJ-00308-JAG
                                                          )
   ALBERT TRAMPIS DOGSKIN, JR.
                                                          )


                                            CRIMINAL COMPLAINT

           I, Special Agent Brian Hoff, state that the following is true to the best of my knowledge and belief. On or about
   November 30, 2017, in the Eastern District of Washington, the defendant violated 18 U.S.C. §§ 2241(a), 1153 (Aggravated
   Sexual Abuse in Indian Country), and that on or about August 16, 2022, the Defendant violated 18 U.S.C. § 1512(c)
   (tampering with a witness or victim).

   This complaint is based on these facts:
      Continued on the attached sheet.

                                                              ────────────────────────────────
                                                                       Complainant’s signature

                                                                      Special Agent Brian Hoff, FBI
                                                              ────────────────────────────────
                                                                        Printed name and title
  x Sworn to before me and signed in my presence.
✔ Sworn to telephonically and signed electronically.
   Date: August 30, 2022                                      ────────────────────────────────
                                                                         Judge’s signature

                                                                   James A. Goeke, United States Magistrate
   City and state:    Spokane, Washington                     ────────────────────────────────
                                                                           Printed name and title




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